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IN THE UNITED STATES DISTRICT COURT
F`OR THE WESTERN DIS'I`RICT OF TENNESSEE
WESTERN DIVISION

 

 

JAIVIES ADAMS,
Plaintiff,

vs. No. 04#2605-E/An

PATRICIA GALLOWAY, 611 al.,

Defendants.

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ORDER DENYING DEFENDANTS MOTION TO DISMISS

 

Plaintiff, James Adams, prisoner number 290690, an inmate at
the West Tennessee State Penitentiary (“WTSP"), Site III, in
Henning, filed a prp §§ complaint pursuant to 42 U.S.C. § 1983
suing the Sergeant in charge of the WTSP Disciplinary Board,
Patricia Galloway, lnternal Affairs Officer Michael Ottinger, WTSP
Warden Bruce Westhrooks, and former Tennessee Department of
Correction (TDOC) Commissioner Donal Campbell. Adams alleged that
he was charged with a disciplinary offense by use of ii state
statute which did not apply to him and that his right to due
process was violated_ in the manner‘ in which, his disciplinary
hearing was conducted. He also claimed that he received ten (lO)
days punitive segregation, was assessed a fine of $5, and was
convicted of a Class A infraction. Adams further contended that,

after exhausting his administrative appeals, he filed a writ of

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with Hule 58 and/or 79(a) FRCP on j ’ 50" §§ ff

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certiorari in Lauderdale Chancery Court which was granted on duly
29, 2003. He submits that the state court judge directed that the
disciplinary infraction be expunged and the 55 fine be returned.

On June 13, 2005, the defendants filed a motion to dismiss.
They contend that because Adams failed to include a certified copy
of the state court judgment, his contention that his disciplinary
conviction has been overturned does not raise a cognizable claim
under § 1983. plaintiff has not responded to the defendant’s
motion to dismiss. Nevertheless, the initial complaint was
verified in compliance with 28 U.S.C. § 1746, and the allegations
therein must be considered in the Court's determination. Williams
v. Browman, 981 F`.Zd 901, 905 (6th Cir. 1992).

When considering a motion to dismiss, the court must lltreat
all of the well-pleaded allegations of the complaint as true."
Miree v. DeKalb Countv, 433 U.S. 25, 27 n.l (1977); see also Saylor
v, Parker Seal Co., 975 F.Zd 252, 254 (6th Cir. 1992). The Court
must construe all allegations in the light most favorable to the
plaintiff. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). "A court
may dismiss a complaint only if it is clear that no relief could be
granted under any set of facts that could be proved consistent with
the allegations." Hishon v. King & Spaulding, 467 U.S. 69, 73
(1984). It must appear beyond doubt that the plaintiff can prove
no set of facts in support of his claim that would entitle him to

relief. Conley v. Gibson, 355 U.S. 41, 45~46 (1957). Furthermore,

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a pro §§ complaint should be construed liberally. Haines v.
Kerner, 404 U.S. 519 (1972).

Adams alleged that “[oln June 21, 2002, [hel filed a Writ of
Certiorari Petition for Common Law and Statutory Writ in Chancery
Court, in connection with a disciplinary proceeding held on April
9, 2002.” (Complaint, para. 17) He further stated:

On7 July' 29, 2003, Chancellor Court Judge Martha B.

Bradsfield_ [sic] granted the Plaintiff Writ of

Certiorari, and denied the defendant's motion to dismiss.

The Court further found7 that the disciplinary board

exceeded its jurisdiction and acted illegally,

fraudulently, arbitrarily and capricious, by finding the

Plaintiff guilty of a state law statute which did not

apply to him. Further the Court ordered. that the

disciplinary infraction be expunged from the Plaintiff's
record and that the $5.00 fee be placed back into the

Plaintiff’s trust fund account.

(Complaint, para. 18).

Defendants' cited cases attached to the memorandum in support
are not analogous to the facts of this case. The plaintiffs in
those decisions failed to allege that their disciplinary
convictions were overturned or “expunged.” “Expunged” is commonly
defined as stricken, obliteratedr deleted, destroyed, or erased.
Black's Law Dictionarv (5th Ed. 1979). Plaintiff’s complaint was
verified in compliance with 28 U.S.C. § 1746, notwithstanding any
failure to attach a copy of his state court judgement, certified or
not. Defendants’ vague and conclusory motion to dismiss does not

deny or dispute Adams' allegation that his disciplinary conviction

was overturned. Furthermore, no affidavit or exhibit has been

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provided which. rebuts the specific allegations of plaintiff's
complaint despite defendants' access to plaintiff’s disciplinary
and state court records. Defendants may be able to demonstrate, on
summary judgment, that plaintiff’s disciplinary conviction was not
overturned or his sentence credits not restored. On a motion to
dismiss, however, the Court must accept the complaint's allegations

as true. Accordingly, the motion to dismiss is DENIED.

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IT lS SO ORDERED this §§ day o;igust, 2005.

. ANIEL BR`EEN \
i ED sTATEs DisTRicT JUDGE

 

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This notice confirms a copy of the document docketed as number 18 in
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Honorable .1. Breen
US DISTRICT COURT

